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                       EXHIBIT B
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                                                                                                           12/30/202011:11 AM
                                                                                    Marilyn Buross - District Clerk Harris County
                                                                                                        Envelope No. 49301932
                                2020-83379 / Court: 165                                                     By: Carolina Salgado
                                                                                                    Filed: 12/30/202011:11 AM

                                  CAUSE NO.

      EDEN TESFAI,                                                IN THE DISTRICT COURT


      Plaintiff,
                                                                                         • " 1•••-,
      V.

      FIESTA MART,L.L.0
                                                                         JUDICIAZ:,DISTRICT
      Defendant,
                                                                       <
                                                                HARRIS'SG4NTY, TEXAS

                       PLAINTIFF'S ORIGINAL PETITION,
                                               (6,7;
     TO THE HONORABLE JUDGE OF SAID COURT:

             COMES NOW,EDEN TESFAI, hereinafter refeli'ed to as "Plaintiff," n the above entitled

                                                     ,NESTA MART,.L.L C., hereinafter"Defendant"
     and :tunijered cause, complaining ofand against ff

     and for cause of action would show the fol10>intunto the Coui:

                                 A.      DISCOERY CONTROL PLAN

     1.    Plantiffintends that this car te.conducted in accordance with a Level 3 Discovery Control
                                      .cz
                                  (  $,?"
     Man; pursuant to Texas Rule ofgvial Procedure 190.4.

                                           B.      THE PARTIES

            Plaintiff EDENJESFAI is an individual who resided in Houston, Harris Court!, Texas at

     the time ofthe event which form the basis of this lawsuit.
                        4
     3.      DefendfirE, FIESTA MART, L.L.C., is a company doing business in the State of Texas.

     This c:efendailt may be served citation in this matter by and through its registered agentfor service,

     CT Corporation System, 1999 Bryan St., Suite 900, Dallas, Texas 75291.
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                                   C.        JURISDICTION AND VENUE

     5.      Venue is proper and maintainable in Harris County, Texas, since the incident subject of

     this;Mt occurred in said County. The Court hasjurisdiction in this matter since Plaintiff's damages

     are within its jurisdictional limits.

                                                D.     FACTS                              .
                                                                                          /Js


     6.      The subject matter of this suit is a fall incident that occurred in ar -on the Defendant's
                                                                             ;N.
     prem.ses located at 11240 Fondren Rd., Houston, TX 77096. At all tjrnes-rhaterial to this cause of
                                                                         • NI
     action, Defendant FIESTA MART, L.L.C. owned, controlled, _managed, and/or operated the

     premises in question. On or about June 29, 2019, Plaintiff ED,pkTESFAI was a business ;nvitee,

     walking in the common areas of the premises of the FiestOlart at the above mentioned location,

     in Houston, Texas, when she suddenly and without,)Triing slipped on a puddle of water and fell

     hard to the floor. Plaintiff EDEN TESFAI fell         il knees and both hands, causing bruising and

     injury to her arms, knees_ and extremities.ifili-eit were nc warning signs posted in the area to warn

     shoppers ofthis dangerous condition, amino equipment or materials for the purposes of preventing

     or reducing the risk of slipping and ti4alling as a result of water dripping on the floor. At all times

     materiel to this cause of action, Defendant was responsible for providing a safe area for business

     invitee, including Plaiqtiff)

     9.      Defendant an,djts agent, employees, and or repi-esenteives were aware, or reasonably

     should have beeil7aware, that this unreasonably dangerous condition existed, yet made no elorts

     to reduce or4ini nate the tit-reasonably dangerous condition, nor did they warn Plaintiff about the

     dangerous condition. As a result of the fall, Plaintiff sustained serious and permanent personal

     injuries and damages.




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                            E.         NEGLIGENCE OF THE DEFENDANT

     10.    Defendant owned, managed, maintained, cortrolled, and/or exercised control over the

     premises in question on the day of the incident in question.

     1 1.   Plaintiff alleges that upon the occasion in question, Defendant failed to us •ordinary care

     by various acts and omissions in at least one or more of the following ways:

            a.      Failure to keep their premises reasonably safe for their eustOliters;

            b.      Failure to reasonably and regularly inspect the(wernises for unreasonably
                    dangerous conditions;

            c.      Failure to reasonably and regularly inspect .ctlie' premises for unreasonably
                    dangerous conditions on areas known to regular4 contain potential unreasonable
                    dangers;                                 A ,.

            d.      Failure to ensure that their employees r'ed,i4be or eliminate any unreasonably
                    dangerous conditions;

            e.      Failure to maintain policies for in ecting the premises For unreasonably dangerous
                    conditions;

            f.      Failure to enforce policie§iir inspecting the premises For unreasonably dangerous
                    conditions;

            g.      Permitting a dangettus•condition, of which Defendant Should have reasonably been
                    aware, to exist f41§ri'unreasonable period of time;
                                  _f
            h.      Failure to prc&-jde adequate warning to Plaintiff of all unreasonably dangerous
                    condition,s.60hich the Defeidants had actual or constructive knowledge;
                           ,
            i.      Failuceo recruit, select, and hire competent employees capable of locating,
                         •
                    Keyenuing, reducing, eliminating, and warning about unreasonably dangerous
                    oMetions;

            j. - ,'"Failure to adequately train their employees in locating preventing, reducing,
                   eliminating, and warning about unreasonably dangerous conditions;

            k.      Failure to adequately supervise their employees tc ensure they are locating,
                    preventing, reducing, eliminating, and warning about unreasonably dangerous
                    conditions; and




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            I.      Fai:ure to use or implement products or equipment designed and intended to
                    prevent or reduce the risk of slipping and/or falling as a result of p-i-oduce or other
                    substances on the floor area in question.


            Each and all cf the above stated acts and/or omissions, taken together or individually,

     corstitute negligence and the same are a direct and proximate cause of the injuriekhnd damages

     sustainei by Plaintiff.

                                   F.      RESPONDEAT SUPERIOR

     12     At all relevant times herein, all of the agents, servants, or/e 'ioy,ees of               who

     were in any way connected to this suit were acting within the courgeind scope ofthei r empl!oyment

     or offical duties and in furtherance ofthe duties oftheir of Ce 9,r employment. Therefore, the acts
                                                                     ••
                                                             -
     or omissions of those agents, servants, or employees aneYatr.ributable to Defendants and renders

     Defendants liable for all damages suffered by Plaintiff under the doctrine ,)f revontleat superior..

                   G.      NEGLIGENCE OF TODEFENDANTS'EMPLOYEES
                                                 <-<.,•
                                                 '
     14.    Plaintiff alleaes that upon the ocpuisiion in question, the Defendant's empIeyees failed to

     use ordinary care by various acts an4,rnissions in at least one or more ofthe follc-wing ways:

            a.      Failure to keep tCpremises reasonably safe for its customers;

            b.      Failure to reigutably and adeqLately inspect the floor area in question for any
                    unreasonabfkangerous conditims;

            c.      Failurpo use or implement products or equipment designed and intended to
                    prsy,* or reduce the risk of slipping and/or falling as a result of produce or other
                     :'ait-ances on the floor area in question

            d.     Vallure to take proper and reasonable actions to eliminate any unreasonably
                    dangerous conditions; and

            e.      Failure to give a&quate warning to Plaintiff of all unreasonably dangerous
                    conditions of which the employees had actual or construc-.ive knowledge




                                                                                                      Pee 4
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            Each and all of the above stated acts and/or omissions, taken together or individually,

     constitute negligence and the same are a direct and proximate cause of the injuries and damages

     sustained by Plaintiff.

                                            I.       DAMAGES                                .
                                                                                            •
     15.    As a direct and proximate cause of the acts and omissions set out above.      ntiff sustained

     injuries in the collision made the basis of this suit. From the date of the tkeurrerice in question

     until the time of trial of this case, those elements of damages should ,bcOnsidered separately and

     individually for the purpose of determining the sum of money .thaf will fairly and reasonable

     compensate Plaintiff for each of the elements as follows:  .46-`f
                                                             .c(I)
             1.     Monetary relief of over $100,000 but nqtntore than $250,030,

            2.      physical pain and mental anguish in tli- pa
                                                              .st and f.iture;

            3.      physical disfigurement in the pas(4,1n1 future;
                                                 4... •
            4.      physical impairment in theyist-and future;

            5.      medical expenses-in the
                                          (ppSt and future;

            6.      exemplary damages;
                                     ,
                                     " and

            7.      all other dam%e.s -allowed by law and equity.

                                         PREJUDGMENT INTEREST

     16.    Plaintiff wouicNadditionally show that she is entitled -:o recovery of pre-judgment interest

     in accordance with,'aw and equity as part of her damages herein. and Plaintiff here and now sues

     for recover,6a pre-judgment interest as provided by law ard ecuity, uncle: the applicable

     provisions of the laws of the State of Texas.
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                                       K.   REQUEST FOR DISCLOSURE

     1 7.    Under thE Texas Rules of Civil Procedure 194, Plaimiff reluests that Defendant disclose,

     within 50 days of the service of this request, the information or material described in Rule 194.2

    (a-.1)   Plaintiff intends on using all documents produced by any and all Defen,dant as self-

     authenticated at trial in accordance with Tex. R. Civ. P. 193.7

                            L.         PLAINTIFF'S REQUEST FOR.JURY TRIA,

     1 8.    Plaintiff hereby requests this case be heard by a Jury.

                                                    PRAYER

                                                • ic4:;
             WHEREFORE, PREMISES CONSIDERED, PlAtr ff respecifully prays that the

     Defendant be duly cited to appear and answer herein Obliat, upor final trial of this cause, that

     Plaint:if recover judgment against the Defendant„       PlaintifPs damages, for costs of cofft, for

     pre- and post-judgment interest as provided byl , and for such other further relief, both general
                                                      '
     and special, at law or in equity, to which PlaMtiff may show to be justly entitled.

                                              trc          Respectfully submitted,

                                                           M':IDA LAW FIRM
                                         0

                                   ,
                                 ;r
                                                                 A. 1VLAIDA, JR.
                                                           S     Bar No. 0078795C
                                                           *smaidajr@maidalawfirm.net
                                                           GABRIEL DE VEGA
                    .(2).                                  State Bar No. 24069585
                                                           *gdevega@maidalawfirm.net
                                                           8313 Southwest Freeway, Suite 102
                                                           Houston, Texas 77074
                                                           Telephone      (713)785-9434
                                                           Facsimile      (713)583-7099
                                                           A TTORNEYS FOR PLAINTIFF




                                                                                                   ?gl,T 6
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                                                                              Marilyn Burgess - District Clerk Harris County
                                                                                                   Envelope No. 49892034
                                                                                                          By: Joshua Bovell
                                                                                                  Filed: 1/21/2021 9:36 AM

                                     CAUSE NO. 2020-83379

EDEN TESFAI                                       §        IN THE DISTRICT COURT OF
      Plaintiff,                                  §
                                                  §
vs.                                               §        HARRIS COUNTY, TEXAS
FIESTA MART LLC                                   §
      Defendants.                                 §
                                                  §
                                                  §        165th JUDICIAL DISTRICT

                  DEFENDANT FIESTA MART LLC’S ORIGINAL ANSWER

 TO THE HONORABLE JUDGE OF SAID COURT:

         Defendant FIESTA MART LLC, files this Original Answer to Plaintiff’s Original

 Petition (“Petition”), and in support thereof, would respectfully show the Court the following:

                                        I.   General Denial

         1.      Under Rule 92 of the Texas Rules of Civil Procedure, Defendant generally denies

 each and every allegation made against Defendant in Plaintiff’s Petition.

                                        II. Jury Demand

         2.      Defendant hereby exercises its rights to demand a trial by jury under Rule 216 of

 the Texas Rules of Civil Procedure on all issues triable by a jury.

                                  III. Request for Disclosure

         3.      Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Plaintiff is requested

 to disclose, within thirty days of service of this request, the information or material described in

 Rule 194.2(a)-(l) and the documents described in Rule 194.4 of the Texas Rules of Civil

 Procedure.

                                             IV. Prayer

         FOR THESE REASONS, Defendant FIESTA MART LLC, respectfully prays that the

 Court enter a judgment that:
                                                  1
 HOULITIGATION:1711792.1
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        1.      Dismisses all claims against Defendant FIESTA MART LLC, and orders that

       Plaintiff takes nothing by reason of Plaintiff’s allegations.

        2.      Orders that Defendant recovers all costs incurred in defense of Plaintiff’s claims,

       and that Defendant’s judgment against Plaintiff include the following:

             a. Costs of suit; and

             b. Such other and further relief, general and special, at law or in equity, to which

             Defendant may be justly entitled.

                                                 Respectfully submitted,

                                                 MEHAFFYWEBER, P.C.

                                                 By:/s/Maryalyce W. Cox
                                                 Maryalyce W. Cox
                                                 State Bar No. 24009203
                                                 One Allen Center
                                                 500 Dallas, Suite 2800
                                                 Houston, Texas 77002
                                                 Telephone - (713) 655-1200
                                                 Telecopier - (713) 655-0222
                                                 maryalycecox@mehaffyweber.com

                                                 ATTORNEYS FOR DEFENDANT
                                                 FIESTA MART LLC

                                  CERTIFICATE OF SERVICE

        This will certify that a copy of the foregoing document was furnished to counsel for
Plaintiff on January 21, 2021, pursuant to the Texas Rules of Civil Procedure.

                                                 Maryalyce W. Cox
                                                 Maryalyce W. Cox




                                                    2
HOULITIGATION:1711792.1
